                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

NATHSON E. FIELDS,                      )
    Plaintiff,                          )
                                        )      No. 10 CV 1168
     v.                                 )
                                        )      Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                 )
     Defendants.                        )

  PLAINTIFF’S REDACTED VERSION OF MOTION TO MAKE PUBLIC THE NAMES OF
       VICTIMS IN THE SINGLE FILE CABINET VIEWED BY COUNSEL

      NOW COMES Plaintiff Nathson Fields, by and through his attorneys, and hereby

asks this Court to allow counsel for the Plaintiff to publicly disseminate the names of

the deceased homicide victims whose investigative homicide files are contained in the

single file cabinet at the basement of 51st and Wentworth that Plaintiff’s attorneys were

allowed to inventory and review; the homicide investigative files contained in said

cabinet date from 1944 to 1987. In response to this Court’s request on July 30, 2013 for

more specific information regarding counsels’ investigation, counsel for Plaintiff

supplements his July 24th, 2013 Motion (Docket 398) with the following:

      BACKGROUND

      As more fully described in Plaintiff’s response motion filed on April 2, 2013

(Docket 345) and Motion filed on April 5th 2013 (Docket 347) there lie in the basement at

51st and Wentworth, a facility currently the home of Area Central – formerly Area One –

more than 20 file cabinets containing thousands of investigative files that the City has

designated “open,” and which have never been cataloged or inventoried in any manner.
Counsel have only been allowed to view in depth and inventory one cabinet -- the one

file cabinet that the City thinks might have held the Plaintiff’s investigative file at some

point during the twenty-eight years it was missing. (A list of the names from the one

homicide file cabinet examined is attached as Ex. A) Plaintiff’s counsel have concluded,

from their limited investigation, that some of the files, despite being designated as

“open,” are not in fact “open.” As further described below, and based upon their

investigation, counsel also believes that some of the files are similar to the missing street

file in Mr. Fields’ case, in that they were very likely never tendered in criminal

proceedings to defendants.

       ARGUMENT

       The withholding of “street” files (investigative files) by the CPD has a long and

sordid history (see, Palmer vs. City of Chicago 755 F.2d 560 (7th Cir.1985); Palmer vs. City

of Chicago 806 F.2d 1316 (7th Cir. 1986) and Jones v. City of Chicago, 856 F.2d 985 (7th Cir.

1988)). Since filing the above motions regarding the twenty plus file cabinets containing

thousands of uninventoried “open” investigative files in the basement at 51st and

Wentworth, counsel for the Plaintiff have conducted an investigation into several

criminal prosecutions stemming from homicide investigations whose corresponding

investigative files are now housed in the one file cabinet reviewed and inventoried by

counsel.

       Plaintiff sought, in discovery, copies of only five of the 300 homicide files in the

one file cabinet--four of which counsel believes reveal a pattern of withholding Brady

material from defendants and hiding the files in the “open files” cabinets. The City has

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produced three of the requested files but has refused to tender the two other files that

Plaintiffs’ counsel sought. As further described below, counsel for Plaintiff have

concluded based on their limited investigation, that two of the three files tendered by the

City, and the two additional files that the City refuses to tender are not “open” in the

traditional sense, and contain pertinent documents that were very likely never shared

with the accused defendants in their criminal proceedings. Each of the files Plaintiff

sought has ties to Plaintiff’s own litigation and thus a further examination of their

contents was justified in what (not surprisingly) turned into a discovery dispute.

Despite the justification offered by Plaintiff, the City refused and still refuses to tender

two of the files sought. The five files that Plaintiff requested were:

              a.

              b.

              c.

              d.

              e.

                                                                         .

       These five files were selected by counsel for three reasons: 1.) the files had

overlapping issues with the Plaintiff’s case; 2.) several of the files contained information

suggesting that suspects had been identified, charged, prosecuted and convicted in

criminal proceedings, thereby indicating that the investigative files were not “open” in

any traditional sense - at least at the time of the criminal proceedings; and 3.) several of

the files were familiar to counsel and documents within the files suggested that some of

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the materials in the files were exculpatory, and likely never tendered in the underlying

criminal litigation. Nevertheless, the City continues to refuse to tender two of the files,

the investigative files for the             and                 homicides.

       What follows is a summation of the investigation by Plaintiffs’ counsel regarding

the five files, an investigation which has led to this request to release the names of all of

the homicide victims in the file cabinet reviewed by counsel. This request is made in the

interest of justice.

       A. The                 Investigative File

     Mr.        was murdered on                    . There were two trials regarding this

murder. One of the defendants in the first trial was Earl Hawkins -- Plaintiff’s co-

defendant in the Hickman/Smith murders. Hawkins was acquitted of the                 murder

in         .

       On or about May 13, 1985 Anthony Sumner, a former El Rukn, began to

“cooperate” with the CPD and the federal prosecutors investigating the El Rukn

organization. Subsequent to Sumner’s cooperation, police conducted raids on buildings

owned by members of the El Rukn organization and on the El Rukn headquarters on

May 17, 1985. More than twenty members of the El Rukn organization were arrested

during those raids and, over the next few days, many of those men were placed in line-

ups relating to various unresolved murders about which Anthony Sumner had

supposedly begun to provide information. Based on Sumner’s “information,” warrants

were issued at that same time for Plaintiff Nathson Fields and Earl Hawkins, for the




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murders of Dee Eggers Vaughn and Joseph White. 1 Some days later, and also based on

“information” from Sumner a warrant was also issued for Earl Hawkins and Plaintiff

Nathson Fields in the Hickman and Smith murders which occurred at the Ida B. Wells

housing project 15 months earlier.

      In the course of discovery in this civil rights action, Plaintiff’s counsel received

from the federal government a line-up report from the Hickman/Smith murders from

the May 18, 1985 line-up. However, as shown by the crime lab copy of the report, the

witnesses did not identify Mr. Hawkins as a perpetrator in the Hickman/Smith

murders but instead identified Ray Fergerson. (Ex. C) The detective division copy of

that same line-up report shows Ray Fergerson’s identification scratched out with pen.

(Ex. D.) (The original document – which counsel for plaintiff reviewed at the CPD

warehouse, shows the identification of Mr. Fergerson whited out).

      In addition to this falsified revision of the line-up report, the narrative of the line-

up report was changed on May 21, 1985 to indicate that the three witnesses identified

Earl Hawkins as one of the men to commit the murders of Hickman and Smith. (Ex. E)

(This was not the only instance in which Plaintiff discovered falsifications of documents


1
 Two weeks prior to his death in 1992 Anthony Sumner signed an admission with the
States Attorney’s office admitting that he lied to the grand jury about the Vaughn and
White murders and that those murders were actually committed by himself and Earl
Hawkins; Sumner admitted that Nathson Fields had nothing to do with the murders.
Sumner also admitted that he was mad at Mr. Fields, a building manager, for putting
his family out of their apartment for failure to pay rent and that was the reason he
named Mr. Fields as an accomplice. At the time that Mr. Sumner admitted lying to the
Grand Jury regarding Mr. Fields involvement in the Vaughn/White murders the States
Attorneys never questioned Mr. Sumner about the Hickman and Smith murders.
Sumner died before Mr. Fields’s defense counsel could question him. (Ex. B)
                                             5
by the CPD during the El-Rukn line-ups conducted during the weekend of May 18th ,

1985 but it is the only one that is pertinent herein.) Counsel has investigated this

inexplicable identification of Mr. Fergerson in a Hickman/Smith murder lineup, and

the CPD’s subsequent efforts to literally white it out of history; counsel believes that Mr.

Fergerson was retroactively written out of the Hickman and Smith investigation when

police discovered that he had a strong alibi and was therefore unsuitable for that

particular prosecution. Plaintiff believes that this also establishes that the CPD had a

very early indication that the “information” coming from Sumner was not reliable.

       The               homicide file contained in the basement cabinet shows a line-up

report from May 19th, 1985 which again includes both Ray Fergerson and Earl Hawkins.

The witnesses picked out Earl Hawkins, the original defendant in the

                – and not Mr. Fergerson. No arrests were made in the spring of 1985

regarding the        murder. The unfortunate Mr. Fergerson was charged in yet another

“open file” –again based on “information” from Sumner - the beating and death of

Maurice Coleman. (Upon information and belief every El Rukn member who was

arrested during the raids was charged with committing offences found in open files.)

Two years later, after Earl Hawkins 2 began cooperating with the CPD and federal

authorities, Mr. Fergerson was charged in the           murder based on the testimony of

Hawkins and two other cooperating El Rukn witnesses --Anthony Sumner and Tramell
2
 In his recent deposition Mr. Hawkins admitted that he began his cooperation by discussing the
     case because he understood he could not be prosecuted a second time for that murder and
CPD Detective Brannigan told him “you better come up with something quick.” Hawkins also
admitted that Detective Brannigan told him that instead of facing execution he could probably
get his sentenced reduced to around 20 years. These conversations occurred early in their
meetings after Hawkins wrote to Brannigan from death row in early 1987. (Exs. F and G)

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Davis. The          trial took place in the                 and Mr. Fergerson and several

others were convicted of that murder. The               murder investigative file, housed in

the basement of 51st and Wentworth, is clearly not properly designated an “open” file;

the case was not “unsolved” and no suspects remained at large; instead, the file is rather

similar to the Hickman and Smith homicide file – i.e., a file hidden away in the

basement of Area One - involving a murder where convictions were secured. Counsel

believes based on their investigation that the complete investigative file found in the

basement was most likely never tendered to the defendants in the second trial.

      The investigation by counsel included reviewing the court file from the 1988 trial,

reading the court transcript and reviewing materials submitted in discovery. That

investigation leads to the conclusion that this investigative file (or parts thereof) was

most likely never tendered to the defendants in the                              second trial

because the investigative file from the basement contains what appears to be Brady

material that was not utilized by any of the defendants at the trial. Coincidently, a name

that appears in this file as a suspect also appears as a suspect in a similar style murder -

the          murder- another file found in the basement file cabinet and discussed

below—                                .” Although “          ” is named as a suspect in the

Bibbs murder no mention was apparently made at the                    trial that “    ” was

actually on the scene at the time of the          murder. In addition, in a note found in the

         file the CPD remarked on the similarity between the               shooting and the

         shooting. As shown below, that similarity most likely has to do with the



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involvement of “       ” a notorious drug supplier at the time - and not a member of the

El Rukns.

      These facts, of course, do not prove that the file was not turned over to the

defense but based on the fact that this file was hidden in a cabinet with supposedly

“open” files - ostensibly the same cabinet that Mr. Fields file was hidden for some or all

of 28 years - coupled with the investigation by counsel suggesting that at least some

pertinent information raised in the file was never put forward by any of the defense

counsel during the trial certainly raises a strong possibility that this file (or parts

thereof) was never turned over. There are still men in prison who were convicted in that

second trial for the        murder and counsel believes that this file should be made

available to those men.

      B. The                         Investigative File.

      Eighteen months after the           shooting, in                ,

was sitting in a parked car at 56th and Michigan in Chicago with two other women,

               and             , when a masked gunman approached the car and started

shooting.                        and                       were both hit by the gunfire.

                     died the next day,                  survived.

      According to the “open” investigative file, housed in the basement at 51st and

Wentworth,                  immediately recognized the person who shot into the car as

                       );     ” had driven the car to the location where it was parked

and he left the three women in the car while he supposedly went into the apartment of

a friend. Just prior to being shot                  recognized the masked “       ” as he

                                              8
approached the car with a gun (by his clothes and voice). According to                       ,

          said to         “bitch, give up the coat” as he opened fire on               . As

          was shooting at                          (who was sitting in the front seat)

          n, (who was sitting in the back seat) asked       , why you doing this?” at which

point               turned the gun on                       , who jumped out of the car just

moments prior to the shooting and hid by the side of the car during the gunfire, also

told police that the perpetrator had been “         ,” accompanied by                   and

        . The investigative file contains approximately 150 pages of notes and leads --

mostly relating to “         ” (              ) and an associate named “             ” (

           ) the owner of the car in which               was killed.             had apparently

purchased the old car that same day. As mentioned above                     was also a suspect

in the similar style murder of                        months earlier.

          The leads found in the investigative file were developed from eyewitness

interviews and paint a compelling narrative suggesting that                and             set out

to kill                       on account of           selling a stolen coat loaned to her, and

then used the proceeds to buy drugs for herself.              and            , members of the

Titanic Stones gang, needed the proceeds from the sale of the stolen coat to pay back a

drug-related debt.                      and                were the primary suspects in the

investigative file found in the basement of Area One and substantial evidence from that

file indicates that those two men were most likely responsible for the shooting. One of

the last notes in the file indicates that the CPD was close to disproving                  ” alibi.

The file also suggests, based on an interview with                      cousin               , that

                                               9
                 (the passenger that escaped from the car) had some foreknowledge that

“      ” intended to confront            , and that           removed herself from the car

seconds before the shooting. In later notes found in the file               admitted that she

did have advanced notice but that she did not know that “            ” was going to murder

             .

        Despite the vast evidence in the investigative file that “      ” and “       ” were

the shooters (and that               had advance notice of the hit-allowing her to exit the

car prior to the shooting) the murder of                          and attempted murder of

                   were wrapped into the federal RICO case against members of the El

Rukn organization. The 1989 indictment in United States of America v. Henry Andrews, et

al. (89 cr 908) names J.L. Houston, William Doyle, Jackie Clay and Edgar Cooksey with

Racketeering Act nos.        and     the murder of                       and the attempted

murder of                    . Ironically, Racketeering Act           and      also identifies

                    as a would-be victim of the hit, even though he was not in the vehicle

with             , and even though the initial investigation pointed to

          as a likely accomplice in the murder (the same                        whose name

surfaced in the similar         attack noted above).

        Despite having positively identified “         r” as the individual who shot her,

                   testified for the Government at the trial against Houston, Doyle, Clay,

and Cooksey. Several of the men were found guilty under those counts, including J.L.

Houston. Counsel for Fields has read as much of the record as she could obtain and

concludes that the file (or parts thereof) that was in the basement of 51st and Wentworth

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-- and designated as an open file – was most likely never tendered to the defendants in

the federal racketeering trial (counsel has no information as to whether the file was ever

turned over to federal prosecutors). Plaintiff’s counsel believes defense counsel never

received the file from the basement because pertinent exculpatory information found in

that file - some of which is described herein- was never raised by any of the accused

defendants in the federal proceeding. Counsel has been unable to determine if any

defendants are still in prison for that particular crime, but the crime itself was utilized

by the federal government as evidence of the pattern of acts of violence 3 on the part of

members of the El Rukn organization in the racketeering counts of the indictment.

        C. The                      Homicide File

        Counsel requested the                           homicide file from the City defendants

because the file contains the names of many of the same suspects that appear in the long

missing street file for the Hickman/Smith murders – the body of documents which now

figures so prominently in Plaintiff’s civil rights case (the file that was withheld from

Nathson Fields during his two trials, for twenty-eight years). The

homicide file expands on the ongoing shootings between local gangs within the Ida B.

Wells complex around the same time as the Hickman and Smith murders. Those feuds,

counsel believes, likely led to the murder of Mr. Smith (the leader of a small gang

within the Ida B. Wells complex) and his friend Mr. Hickman. As far as counsel can




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 The       murder was also used as evidence of the pattern of acts of violence on the part of the El Rukn
organization in the federal indictment at Racketeering Act Nos. and

                                                   11
determine, the file is genuinely open and no defendant has been charged or convicted of

                 murder.

       D. & E. The                , and                Homicide Files

      These are the two files that the City has refused to tender to counsel for the

Plaintiff. The       file contains cryptic references to the Dee Eggers Vaughn murder

(the double murder described above that Mr. Fields was originally charged with and

which was used against him in sentencing to allow for his execution) and also to

another supposed “El Rukn” related homicide (Harold’s Chicken shack shooting in

April, 1985). The          file contains documents that address issues relating to the

Gangster Disciples’ and that particular gang’s internal fights, including murders,

relating to drug sales within the gang. Both files contain disturbing documents related

to the suspects in those cases. Counsel could only perform a cursory examination of

these two files, and has not been afforded an opportunity to compare those documents

with court documents from subsequent criminal prosecutions because of the City’s

refusal to tender the two files. However, the cursory examination by counsel strongly

suggests that exculpatory materials found in those files were never tendered to the

suspects.

      In the         file the evidence is particularly troubling because the suspect

identified in the file was ultimately not charged in that particular murder; the   file

contains materials compiled long after the murder took place and it turned out that the

suspect was a young child at the time of the shooting. Nevertheless, the suspect in the

       murder was conveniently charged with two separate murders after it was

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determined that he could not have been involved in the               murder (one of the

murders took place on the day of his arrest) even though there was no physical

evidence linking the man to either crime. The “suspect” confessed to the first murder

after being interrogated continuously over several days by a CPD detective with an

infamous history. After the first confession the interrogation continued for more than

another day and the suspect confessed to a second murder. The “suspect” is in prison

for his natural life. Again, because counsel did not have the actual investigative file to

compare with court documents this investigation is incomplete.

      CONCLUSION

      The few files reviewed suggest to counsel that if the names of the victims

corresponding to the single homicide file cabinet that Plaintiff’s attorneys were allowed

to inventory -- were to be made public, there would be several individuals, some of

whom are still in prison, who could possibly have an argument that Brady material was

never turned over by the City in their criminal cases. This claim is not made lightly -- it

is made by comparing documents found in two of the three investigative files that

Plaintiff was allowed to receive and review -- with the actual court files in the criminal

cases, judicial opinions, and discovery material. Counsel also did a limited review of

public information on the two files that the City refuses to tender (albeit without the

benefit of having the actual documents in those files to confirm counsels’ suspicions).

      If Plaintiff’s counsels’ fears are substantiated, there are individuals currently in

prison who would have an opportunity to argue for a new trial based on the

information contained in this one particular file cabinet. Counsel for Plaintiff have not

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conducted an in-depth review of all of the files in the cabinet however, based on

counsels’ knowledge of some of the cases and the review conducted upon receiving the

five files (as described above) it appears that the repository of “open” files in the

basement at 51st and Wentworth contains other files that have been withheld from

defendants during their criminal proceedings. If this Court were to allow the list of

victim names to be publicly released counsel believes that, at very minimum,

individuals who were not provided complete investigatory information from the files

found in that particular cabinet, would have an opportunity to have that information

reviewed.

      Wherefore, Plaintiff asks that this Court -- in the interest of justice -- allow his

counsel to release the names of the deceased victims from the one file cabinet

inventoried by counsel, and for such other and further relief as this Court deems just.

Dated: September 11, 2013



                                           Respectfully Submitted,

                                           /s/H. Candace Gorman
                                           One of the Attorneys for Fields


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                            CERTIFICATE OF SERVICE

      I, H. Candace Gorman, hereby certify that the foregoing Redacted document was

served to the parties through the ECF system.




Dated: September 11, 2013

                                                Respectfully Submitted,

                                                /s/H. Candace Gorman
                                                One of the Attorneys for Fields



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